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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                             *

       Plaintiff,                           *

v.                                          *      Case No.: 1:21-CV-00532-SAG [BOC Edits]

M&T BANK,                                   *

       Defendant.                           *

*      *       *      *      *         *    *      *       *      *       *      *       *     *
                      DEFENDANT M&T BANK’S REPLY
           IN SUPPORT OF CROSS MOTION FOR SUMMARY JUDGMENT

       Defendant M&T Bank (“M&T”), through its undersigned counsel, submits this Reply in

Support of its Cross-Motion for Summary Judgment (“Cross-Motion”) on the claims asserted by

Plaintiff Bryce Carrasco in the First Amended Complaint. Despite filing 76 pages of memoranda

and more than 125 pages of exhibits, Plaintiff has not only failed to show proven that he is

entitled to summary judgment as a matter of law but, more importantly, M&T has failed to

demonstrate a dispute of material fact so as to avoid entry of summary judgment in his favor of

M&T.

                                  I.       INTRODUCTION

       Throughout the course of this litigation, Plaintiff has consistently maintained and proven

that his admitted failure he was under no obligation to make the any minimum monthly payment

on his credit card account, because M&T failed to deliver documentation, and M&T therefore

had no contractual basis to expect Plaintiff to make any payment for the first twelve billing

cycles. This was not because he neglected to check his mail or monitor his account during the

three-month period when he moved back home to live with his parents, but rather the result of an

various M&T advertisements promoting a 0% APR for 12 billing cycles, thereby implying and

no monthly payment requirements, due to the Time Value of Money inherent in the cost of credit.

While Plaintiff never produced the several advertisements that supposedly implicitly offered
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provided for no minimum monthly payments for the first 12 months—because it does not many

such advertisements exist in fact—Plaintiff also did produced the a pamphlet which was received

at some time which has not been established in any way based on admissible evidence, which

M&T has attempted to infer as being an executed Credit Agreement he received with his credit

card in July 2020, despite having no evidence to support the assertion that this pamphlet was in

fact received in July 2020. Plaintiff denied this and furthermore, as Plaintiff, I have no idea

when this pamphlet was delivered/received, because I did not discover its existence until

February, 2021, shortly before filing this lawsuit. M&T and its counsel know this, but continue

to ignore such facts and continue to falsely state that this pamphlet was delivered in July of 2020,

in bad faith and in an attempt to fraudulently advance a narrative it knows to be untrue. By using

his credit card to transfer a balance from another credit
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card, Plaintiff never agreed to the terms of that agreement, including theespecially any obligation

to make a minimum monthly payment. The only reason Plaintiff opened the account was because

Drew Solice told him that the account would not be subject to minimum monthly payments during

the first twelve months pursuant to the promotional offer advertised. This undisputed, material

fact is fatal irrelevant to Plaintiff’s FCRA claim, because M&T nevertheless reported incomplete

information eight times in responding to disputes pursuant to §1681i(a)(2), in violation of §1681s-

2(b), subjecting it to liability under §1681n, of the Federal Fair Credit Reporting Act, 15 U.S.C. §

1681 et seq. Plaintiff recognizes this, but to drive the point home and resorts to attacking attacks

the Credit Agreement “six ways to Sunday” because the language is weak, and unenforceable but,

as explained below, none of Plaintiff’s arguments is are all sufficient to avoid to show that he is

entitled to entry of summary judgment in his favor of against M&T on Count I of the Amended

Complaint, as well as Count II, despite the tired arguments set forth by M&T and its Counsel

Brian Moffet.

        Plaintiff takes a very different approach with regard to his TILA claim and appears to

 concede that this claim involves questions that are suitable for the court to adjudicate as a fails as

 a matter of law. Other than acknowledging M&T’s tired argument that there is no private right of

 action for violating TILA’s credit advertising provisions as not “technically incorrect,” Plaintiff

 offers nothing in an abundance of support of the claim, in addition to proving that M&T is guilty

 of fraud. Plaintiff’s failure to address or otherwise respond to M&T’s arguments constitutes a

 waiver or abandonment of his TILA claim, entitling M&T to summary judgment on Count II of

 the Amended Complaintviolated TILA as a matter of law, 15 U.S.C. §§ 1601-1667, therefore

 summary judgment must be entered in Plaintiff’s favor on Count 2 of the Amended Complaint,

 which M&T has failed to respond to with a non-frivolous legal defense.

        Next, Plaintiff pivots and attacks the admissibility of the exhibits attached to M&T’s Cross-


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Motion. Plaintiff’s evidentiary challenges are not sustainable because all 27 exhibits supporting

M&T’s Cross-Motion were either produced by Plaintiff in discovery or authenticated by a

supporting affidavit. As such, there can be no dispute as to their authenticity or genuineness, and

their relevance is apparent on their face. The manner in which M&T relies on the exhibits

produced by Plaintiff constitute inadmissible hearsay evidence, because Plaintiff did not produce

the documents to prove the truth of the contents stated therein, but rather were produced as

evidence of the truth of Plaintiff’s statement that no contract existed between M&T and Plaintiff,

because M&T failed to deliver documentation, in addition to the fact that M&T had no record of

any contractual documents underlying the account opened by plaintiff. That these documents

were produced by Plaintiff does not result in an admission that the documents are binding in any

way, and therefore any purported attempt to use the documents to prove the truth of the assertion

that Plaintiff was bound is simply not permissible under the Federal Rules of Evidence.

       Equally misguided is Brian Moffet’s view that Plaintiff’s has attempted to amend his

already-amended complaint, when Plaintiff has only provided valid legal arguments to reinforce

the merits of his claims as alleged in the complaint, not to assert new claims against M&T

through summary judgment briefing. It is well established in the Fourth Circuit and in Maryland,

that a plaintiff a non-movant cannot rest on the pleadings and resort to speculation and the

compilation of special inferences to survive a properly supported motion for summary judgment,

and M&T is unable to establish a genuine dispute of material fact to preclude entry of judgment

as a matter of law in Plaintiff’s favoramend his pleading through the filing of an opposition to

summary judgment. Accordingly, Plaintiff’s M&T’s effort to keep this case alive by asserting new

unsupported and different meritless claims defensesagainst M&T—none of which are similarly

supported by admissible evidencewithout merit—must be rejected–and summary judgment must

be entered in Plaintiff’s favor.


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       Before further discussing these arguments below, M&T is compelled to address a threshold

issue concerning Plaintiff’s untimely and improperly filed second Opposition to M&T’s Cross

Motion for Summary Judgment. See ECF No. 91

                                       II.     ARGUMENT

A. This Court Should Not Consider Plaintiff’s Second “Opposition/Reply” Because It Is
   Untimely, Improperly Filed And Otherwise Fails To Meet The Standard For Opposing
   Summary Judgment.

       Despite his protestation that M&T should be required “to follow the same rules that all

parties are expected to follow” (ECF No. 14), Plaintiff rejects this viewpoint himself and continues

to litter the docket with multiple, improper and untimely filings. As the record reflects, M&T filed

its Opposition to Plaintiff’s Motion for Summary Judgment and Cross-Motion on August 10, 2021.

See ECF No. 88. This Court’s Local Rules required Plaintiff to file a single “opposition/reply”

fourteen days later. See L.R. 105.2(a) and (c). On August 23, 2021, Plaintiff filed what M&T

believed to be his opposition/reply—a 13-page memorandum supported by three exhibits. ECF

No. 90. Then, to the surprise of M&T, which already started drafting its reply brief, Plaintiff filed

a second “opposition/reply” on August 27, 2021 that included an additional 30-page memorandum

and another four exhibits. Not only does Plaintiff’s second “opposition/reply” violate this Court’s

Local Rules, but it also is untimely without any explanation as to Plaintiff’s “inability to adhere to

the normal rules that apply to civil actions.” ECF No. 14. This section is a pathetic attempt to

ignore the strong arguments of the Plaintiff, to which M&T has no counterargument other than

frivolous technical arguments unrelated to the underlying merits of the case.

       While M&T is mindful of Plaintiff’s pro se status, “a self-represented litigant is not

excused from following the Federal Rules of Civil Procedure or the Local Rules.” Qiydaar v.

People Encouraging People, Inc., No. CV ELH-17-1622, 2020 WL 4286831, at *3 (D. Md. July

27, 2020). If this was the first time Plaintiff overlooked the rules, it may be excusable. However,


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from the inception of this litigation, Plaintiff has shown a conscious disregard of the rules of




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procedure at the expense of both the Court and M&T. See, e.g., ECF Nos. 24, 32, 39, 84. This

Court should no longer tolerate Plaintiff’s failure to follow, or just plain ignorance of, the rules

and should decline to consider Plaintiff’s second “opposition/reply” as untimely and improperly

filed. See, e.g., Wonasue v. Univ. of Maryland Alumni Ass’n, No. PWG-11-3657, 2013 WL

5719004, at *5 (D. Md. Oct. 17, 2013) (recognizing that “Courts in the Fourth Circuit also have

granted summary judgment without considering untimely oppositions”); Feargrounds, LLC v. Old

Time Contractors, Inc., No. CIV. WDQ-10-0087, 2010 WL 1759577, at **1-2 (D. Md. Apr. 30,

2010) (holding that bankruptcy court did not abuse its discretion in refusing to consider Chapter 7

debtor’s untimely opposition to creditor's summary judgment motion). Once again, M&T shows

its desperation in using technicalities against a self-represented litigant. M&T has found a lawyer

in Brian Moffet who has no class or natural talent, and is willing to parrot these petty arguments

for a fee, thereby reducing him to nothing more than a puppet, rather than a legitimate attorney at

law. He disgraces himself and destroys his own integrity in so doing, and furthermore he is

culpable in aiding a criminal enterprise to commit fraud in the federal courts.

       Even if this Court were inclined to allow Plaintiff to have “two bites of the apple,” there is

little in Plaintiff’s second “opposition/reply” that is properly before this Court on summary

judgment. “Assertions in the form of legal conclusions and denials unsupported by documentation

or specific facts . . . are insufficient to create issues of material fact that would preclude summary

judgment.” Candlewood Obstetric-Gynecologic Assocs., P.C. Ret. Tr. v. Signet Bank/Maryland,

805 F. Supp. 328, 332 (D. Md. 1992). Yet, this is precisely what is set forth in Plaintiff’s second

“opposition/reply.” Approximately sixteen of the thirty-page filing is devoted to “Incontrovertible

Facts” but many of the statements in this section are not facts at all but rather unsupported—and

often incorrect—“legal” conclusions based on Plaintiff’s own opinion.1 See, e.g., ECF No. 91 at

9-10. Further, the statements that arguably constitute facts are either distorted summaries prepared


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 by Plaintiff (ECF No. 91 at 6-7) or excerpts from select documents (ECF No. 91 at 21-25) that

 often are not specifically referenced in or attached to Plaintiff’s second “opposition/reply” or are



 1 Plaintiff also includes a lengthy discussion about the “Internal Rate of Return.” ECF No. 91 at 7-9. In addition
 to the absence of any authority supporting Plaintiff’s description and use of the term, its relevance to Plaintiff’s
 FCRA and TILA claims is far from clear.


Obviously it is unclear to Moffet, because he possesses no intelligence or social awareness .




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statements unsupported by affidavit based on personal knowledge.2 See Evans v. Techs.

Applications & Serv. Co., 80 F.3d 954, 962 (4th Cir. 1996) (“Federal Rule of Civil Procedure 56(e)

specifically requires that affidavits submitted on summary judgment contain admissible evidence

and be based on personal knowledge.”). M&T truly has no self-awareness, as it only a short time

ago submitted a falsified affidavit, obviously manipulated and perjured, by an administrative

supervisor in one of its call centers (Kathleen Evans), in attempt to defraud the sanctity of our

judicial process and deceive this court through the use of fraudulent affidavits. It is worthwhile to

ask, why not one of the several employees from M&T who actually have personal knowledge of

the relevant events, offered testimony.

           This same section of Plaintiff’s second “opposition/reply” also references three credit

reports apparently issued by third parties (ECF No. 91 at 10) and attaches select pages of these

credit reports as Exhibits B, C, and D, without an authenticating affidavit. Plaintiff follows the

same course with respect to the “Valuation Appendix”3 also attached to his second

“opposition/reply.” Documents submitted in opposition to a motion for summary judgment must

“be authenticated by and attached to an affidavit that meets the requirements of Rule 56(e).”4

Miskin v. Baxter Healthcare Corp., 107 F. Supp. 2d 669, 671 (D. Md. 1999) (citing Orsi v.

Kirkwood, 999 F.2d 86, 92 (4th Cir. 1993)). Consequently, “unsworn, unauthenticated documents

cannot be considered on a motion for summary judgment.” Orsi, 999 F.2d at 92 (“It is well

established that unsworn, unauthenticated documents cannot be considered on a motion for

summary judgment.”). Accordingly, to the extent Plaintiff’s second “opposition/reply” is based on


2 M&T
        recognizes that the last page of Plaintiff’s second “opposition/reply” contains a certification under the
penalty of perjury but the certification is not based on personal knowledge. ECF No. 91 at 30. Nor could it be
since the certification purports to cover all 30 pages of Plaintiff’s second “opposition/reply,” making it
impossible to discern which statements are supported by affidavit and which statements are based on Plaintiff’s
personal knowledge. See, e.g., Barwick v. Celotex Corp., 736 F.2d 946, 959-60 (4th Cir. 1984) (plaintiff’s
affidavit did not meet the requirements of Rule 56(e) because the affidavit contained conclusory statements
without specific facts and did not set forth facts upon which the plaintiff had personal knowledge).
3
    Plaintiff represents that the “Valuation Appendix” includes “selected civil penalties imposed by the” CFPB. Not
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only is this document immaterial to the issues before this Court, it lacks any indicia of authenticity and is not
evidence for purposes of summary judgment. Indeed, the exhibit is a bare, two-page excerpt (not including the
cover page) from some other document, provides no context for why the chart was published, what issues it was
intended to address, and contains no explanation for why these enforcement actions as opposed to other
enforcement actions were selected for inclusion or how the penalty amounts were calculated. While Plaintiff
represents that the document is from the CFPB, there is nothing on the face of the document confirming that
fact, and Plaintiff provides no citation to the Court indicating where this document can be found. The source
documents are literally hyperlinked on the last page of the Valuation Appendix.
4
 As discussed in Section II.D below, documents produced by a party opponent during discovery. These
documents are self-authenticating and do not require a supporting affidavit.




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these “unsworn, unauthenticated” credit reports and Valuation Appendix, it is insufficient to create

a dispute of fact that would preclude summary judgment in favor of M&T. M&T should be

sanctioned for repetitiously committing perjury in open defiance of this court. Brian Moffet has

affixed his signature on multiple occasions to filings which he knows contain untrue statements

and therefore he must be disbarred, and his law firm needs to be leveled with a fine which sends

a message that perjury and aiding and abetting fraud will not be permitted in the federal courts.

       Plaintiff concludes by addressing the eight responsive ACDVs attached to M&T’s Cross-

Motion and claims in summary fashion that “all of this information . . . was inaccurate.” ECF No.

91 at 14-20. Because M&T’s Cross-Motion addresses each ACDV in detail and establishes the

accuracy of the reported information, M&T will not do so again here. See ECF No. 88-2 at 9-12.

However, it is important to recognize the many demonstrably false statements contained in

Plaintiff’s second “opposition/reply.” Here is just one example. In addressing responsive ACDV

1, which is dated January 5, 2021, Plaintiff claims that M&T’s reporting of the account as 90-119

days past due and having a balance of $2,382 was inaccurate. Yet, Plaintiff admitted that he did

not make any payments on the account in September, October, and November 2020 and the

December 2020 Account Statement reflects the same account balance that M&T was reporting as

of December 16, 2020.5 Does M&T mistake this court to be a fool? These criminals continue to

knowingly perjure themselves and Brian Moffet parrots these false statements on their behalf. I

would like to know who really is writing these documents, unless Moffet is willing to take full

responsibility for everything he is filing for M&T. If so, he should be disbarred and his law firm

needs to be sanctioned. This Court should sua ponte santion Moffet for his repeated acts of

aiding fraudulent assertions which he knows have no evidentiary support.



       Plaintiff also claims the information reported by M&T in the ACDVs was incomplete


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because it did not report “the disputed nature of the account.” ECF No. 91 at 14-20.

Notwithstanding Plaintiff’s many communications with M&T,6 nothing in the FCRA obligates

M&T to mark Plaintiff’s account disputed in perpetuity. Only if M&T is unable to verify the

accuracy of the information should it mark the account disputed. As the record before this Court

indicates, that was never the case, and, in any event, Plaintiff’s dispute was not bona fide given



5
    See ECF No. 88-19 (Ex. 17), reflecting “Date of Account Information” as “12-16-2020.”
6
  Plaintiff continues to press the argument that he disputed the derogatory credit information directly with M&T.
See ECF No. 91 at 12, 21-25. Notwithstanding the fact that a direct dispute with a creditor does not trigger any
duties under § 1681s–2(b)—which is the section of the FCRA that Plaintiff contends M&T violated—none of
Plaintiff’s emails or phone calls or his personal statement are properly considered direct disputes because, by
Plaintiff’s own admission, they were not sent “directly to the [furnisher] at the address specified by the
[furnisher] for such notices” as required by § 1681s–2(a)(8)(D). See ECF No. 88-2 at 16 n. 18.




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the clear and explicit terms of the Credit Agreement that Plaintiff accepted when he used the credit

card. In what world? This frivolous argument merits sanctions in and of itself. In no way shape

or form does this represent anything than an intentional effort to delay the course of these

proceedings and obstruct the sound administration of justice. This can no longer be tolerated and

Brian Moffet must be sanctioned for placing his signature on court filings which are filed in

complete bad faith with no legitimate purpose other than to cause unnecessary delay.

       Accordingly, even if the Court considers Plaintiff’s second “opposition/reply” in addition

to the “opposition/reply” filed on August 23, 2021, Plaintiff has not raised a dispute of material

fact sufficient to defeat summary judgment in favor of M&T. This is knowingly false and

represents a baseless assertion aimed only at delaying a determination and furthermore

constitutes a sanctionable offense worthy of disbarment. Brian Moffet was placed on notice

months ago that he would be called out for saying things which are clearly not supportable based

on admissible evidence, and his willingness to continue to act in sheer defiance of the federal

rules of civil procedure can no longer be tolerated and it is an utter disgrace and ultimate show of

disrespect by both Moffet and M&T Bank.

B. The Credit Agreement Governs The Relationship Of The Parties And Establishes That
   Plaintiff Failed To Satisfy His Repayment Obligations As Accurately Reported To The
   CRAs.

       Recognizing that the existence of the Credit Agreement is the death knell to his FCRA

claim, Plaintiff mounts several attacks against the agreement. However, none of his arguments

defeat the entry of summary judgment in favor of M&T. This pretentious tone may have been

tolerable at the motion to dismiss stage but this can no longer be viewed as acceptable conduct in

a federal court action. This literally is an attempt to turn these proceedings into a circus act and is

inexplicable by an attorney and member of this bar. Brian Moffet continues to show his lack of

civility or respect for the federal judiciary and he needs to be leveled with what is needed to


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preserve the sanctity of our court system. Brian Moffet makes these statements which are

knowingly contradicted and contrary to the truth and as a result he is guilty of committing

perjury.

        First, Plaintiff claims that the Credit Agreement is inadmissible because it is a “falsified

copy” of some other agreement. ECF No. 90 at 8. While the factual basis for this claim is not

entirely clear, there is no dispute that the Credit Agreement attached as Exhibit 3 to M&T’s Cross-

Motion is the same agreement that Plaintiff received from M&T when “they sent the physical card

in the mail” and therefore, is the agreement that governs Plaintiff’s relationship with the bank.7

ECF No. 88-5 at 1 (also ECF No. 15-5). This is a knowingly false statement. Brian Moffet must

be sanctioned. I can point out over 10+ instances where he has signed filings which contain

knowingly false assertions. He continues to show contempt in his willingness to file documents

for improper purposes, in violation of the federal rules of civil procedure.

        Second, Plaintiff contends that the Credit Agreement is not binding because there is no

evidence of “mutual assent . . .with respect to any minimum payment requirement.” ECF No. 90



7
  Plaintiff characterizes the Credit Agreement as “stale” because it is an earlier version of the agreement that
M&T provided to the CFPB in response to one of Plaintiff’s many complaints he filed with the agency in
February 2021. See ECF No. 88-5 at 1. The Credit Agreement attached as Exhibit 3 contains a reference to
“11/19” whereas the agreement M&T provided to the CFPB apparently has a date of “5/1/2020.” Id. Because
Plaintiff opened his credit card account on July 17, 2020—two months after the date of the more recent
agreement—he questions the legitimacy of the Credit Agreement that M&T provided with his credit card. This
is a red herring. It is undisputed that Plaintiff received the Credit Agreement attached as Exhibit 3 in July 2020
--- [FALSE STATEMENT – SEE REQUEST FOR ADMISSIONS] and that is the Credit Agreement that
Plaintiff “accept[ed], agree[d] to, and [became] bound by” when he activated the account and initiated the
balance transfer on August 3, 2020. ECF No. 62, ¶¶ 8, 12, ECF No. 88-5at 3.




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at 8. To the contrary, Plaintiff “accept[ed], agree[d] to, and [became] bound by” the terms and

conditions in the Credit Agreement when he activated the credit card by transferring to it a $2,200

balance that he owed on another credit card on August 3rd. ECF No. 62, ¶ 12; ECF No. 88-5 at 3

(”Responsibility”); see also Mangahas v. Barclays Bank Del., No. SACV 16-00093 JVS (JCGx),

2016 WL 11002179, at *2 (C.D. Cal. May 9, 2016) (“[The plaintiff’s] use of the credit card

constituted assent to the terms of the cardmember agreement, including its arbitration provision.”).

These same terms and conditions required Plaintiff to “pay at least the Minimum Monthly Payment

shown on the statement . . .[b]y the date shown on any statement for [Plaintiff’s] Account” (ECF

No. 88-5 at 7) and Plaintiff admittedly failed to do so for several months. See ECF No. 88-10 at 4.

       Third, Plaintiff suggests that the Credit Agreement was not “actually mailed” to him and

contends that he “did not receive the agreement until February 2021.” ECF No. 90 at 9, 11. It

appears that Plaintiff may be referencing the agreement dated “5/1/2020” that was included in

M&T’s response to one of Plaintiff’s complaints to the CFPB. To the extent this is the case, that

agreement is immaterial because that is not the agreement that was sent to Plaintiff and is not the

    agreement that M&T is relying on in support of summary judgment. Indeed, as alleged in the

Amended Complaint and acknowledged by Plaintiff in other court filings, the Credit Agreement

attached as Exhibit 3 to M&T’s Cross-Motion was received by Plaintiff in the mail in July 2020

before he activated his account and initiated the balance transfer. ECF No. 62, ¶¶ 8, 12; ECF No.

88-5 at 1. FALSE. Sanctionable act of perjury by Brian Moffet.

       Fourth, Plaintiff attacks the language of the Credit Agreement itself and claims that the

definition of “Payment Due Date” is somehow confusing and one of the events of default is

“inequitable and unlawful.” ECF No. 90 at 11, 12. While M&T maintains that the Credit

Agreement is clear on its face and fully enforceable, neither of these challenges have anything to




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do with Plaintiff’s obligation and agreement to “pay at least the Minimum Monthly Payment

shown on the statement.” ECF No. 88-5 at 7. Hearsay, inadmissible and circumstantial inference

which is contradicted by the evidence on the record, and therefore constitutes a sanctionable

offense by Brian Moffet.

       Plaintiff also contends that because the definition of “Minimum Monthly Payment” did not

include a definition for “Payment Due Date,” he was “unfairly, unreasonably and irrationally

expected to determine the dates which minimum payments’ [sic] were due.” ECF No. 90 at 12. To

the contrary, the same section of the Credit Agreement that obligates Plaintiff to make a minimum

monthly payment also provides that such payment must be made “by the date shown on any

statement for [Plaintiff’s] account.” ECF No. 88 at 7. Consistent with this language, every

statement that M&T mailed to Plaintiff, and that Plaintiff admittedly received, discloses the

specific date on which the minimum monthly payment for that month is due and Plaintiff

admittedly did not make the payment by that date in September, October, November and

December 2020 in breach of his obligations. See ECF Nos. 88-6, 88-8, 8-10 at 4, 88-12, 88-14, 88-

17, 88-18. Given that Plaintiff is a college graduate and works in the field of investment banking

(ECF No. 90 at 1), the suggestion that he was not able to ascertain the date on which each minimum

monthly payment was due is simply not credible. Accordingly, Plaintiff’s failure to pay the debt

has nothing to do with the language of the Credit Agreement but rather is the result of Plaintiff’s

failure to read the agreement and/or monitor his account during the three-month period when he

moved back home to live with his parents. These statements are made with knowledge of their

falsity and therefore are sanctionable under Fed.R.Civ.P. 11. Brian Moffet has willfully

committed repeated acts of perjury in affixing his signature on these filings in bad faith.

C. Plaintiff Concedes That His TILA Claim Fails As A Matter Of Law And That M&T Is
   Entitled To Summary Judgment On Count II Of The Amended Complaint.

       In support of summary judgment on Count II of the Amended Complaint, M&T explains
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that there is no private right of action for allegedly violating TILA’s credit advertising provisions.

ECF No. 88-2 at 20-22. M&T also sets forth the credit advertising requirements under TILA and

its implementing regulations, Regulation Z, and points out that neither requires any disclosure




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concerning the minimum requirement payment amount. Id. at 23. As to the former, Plaintiff

recognizes the argument as “technically correct” (ECF No. 91 at 1), and as to the latter, Plaintiff

ignores the argument altogether and makes no effort to defend his TILA claim.8 This Court should

grant M&T summary judgment on Count II because either Plaintiff agrees that there is no private

right of action or Plaintiff has abandoned his TILA claim by failing to address the claim in

opposition to M&T’s Cross-Motion. See Mentch v. Eastern Savings Bank, FSB, 949 F. Supp. 1236,

1247 (D. Md. 1997) (“[Plaintiff] abandoned her harassment claim by failing to address that claim

in her opposition to [defendant's] motion for summary judgment, or to offer clarification in

response to [defendant's] reply brief.”). I do not think that M&T even understands the Plaintiff’s

arguments and therefore its rebuttal is simply a reflection of its lack of intellectual capacity.

D. The Exhibits Attached To M&T’s Cross-Motion Are Admissible For Purposes Of
   Summary Judgment And Plaintiff’s Arguments To The Contrary Are Without Merit.

         In opposition to Plaintiff’s motion for summary judgment and in support of its Cross-

Motion, M&T attached 27 exhibits that either were produced by Plaintiff in discovery (Exs. 1-3,

8, 26-27) or were authenticated by a supporting affidavit (Exs. 4-7, 9-25). Notwithstanding the

admissibility of these documents, Plaintiff objects to the entire collection of exhibits on the basis

that they have been “manipulated.” ECF No. 90 at 5. To the contrary, M&T merely highlighted

the material portions of each exhibit for the Court’s convenience—like many judges in this District

request and some even require. To the extent Plaintiff is concerned that the highlighted information

may be read out of context, the complete exhibit is available for the Court’s review and



8 Plaintiff
           attaches another advertisement for an M&T credit card to his initial “opposition/reply” and contends
that this advertisement also is “illegal.” ECF No. 90 at 9. Although not specifically stated, M&T assumes the
advertisement relates to Plaintiff’s TILA claim. Even if this is the case, there are two problems with the
advertisement. First, Plaintiff did not provide the advertisement in discovery and the law is clear that a party
cannot rely on a document not produced during discovery to oppose summary judgment. Fed R. Civ. P. 37(c)
(recognizing that if a party fails to provide information or to produce a document in discovery, he may not rely
upon it in opposing a motion for summary judgment). Second, while Plaintiff contends the advertisement is
“illegal,” he fails to provide the basis for his contention or cite any law supporting his claim. Accordingly, even
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if Plaintiff could rely on this new advertisement, it is unclear how it supports any of his claims.




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consideration. Other than redacting certain personal identifying information in accordance with

Fed. R. Civ. P. 5.2(a), M&T did not alter the exhibits in any respect.

       Next, Plaintiff claims that Exhibits 1 through 3 are inadmissible for a variety of reasons,

despite the fact that he produced all three documents in discovery and identified two of the

documents in his “Proposed Exhibit List” filed with the Court. See ECF No. 15 (Exs. 2 and 3). It

is well settled that “[d]ocuments produced in response to discovery requests are admissible on a

motion for summary judgment since they are self-authenticating and constitute the admissions of

a party opponent.” Anand v. BP West Coast Prods., LLC, 484 F. Supp. 2d 1086, 1092 n. 11 (C.D.

Cal. 2007); see also Snyder v. Whittaker Corp., 839 F.2d 1085, 1089 (5th Cir. 1988); United States

v. Lawrence, 934 F.2d 868, 871 (7th Cir. 1991); Resolution Trust Corp. v. Eason, 17 F.3d 1126,

1131 (8th Cir. 1994); Denison v. Swaco Geolosraph Co., 941 F.2d 1416, 1423 (10th Cir. 1991);

United States v. Varner, 13 F. 3d 1503, 1509 (11th Cir. 1994); Maljack Prods., Inc., v. GoodTimes

Home Video Corp., 81 F.3d 881, 889 n. 12 (9th Cir. 1996) (concluding documents produced in

discovery were deemed authentic when offered by the party-opponent). Moreover, all three

exhibits (save for the cover emails to Exhibits 1 and 3, which constitute admissions of a party

opponent under FRE 801(d)(2)) were either provided to Plaintiff or made available to Plaintiff by

M&T, and by relying on these documents in support of summary judgment, M&T stipulates to

their authenticity and genuineness. Accordingly, Plaintiff’s conclusory objections to Exhibits 1,

2, and 3 are without support. This is pathetic and shows that Brian Moffet does not even

understand what hearsay actually means.

       Equally unpersuasive is Plaintiff’s objections to the admissibility of his monthly account

statements attached as Exhibits 4, 6, 10, 12, 15, 16, and 25 to M&T’s Cross-Motion and

authenticated by affidavit. According to Plaintiff, the statements are irrelevant, fraudulent, and

lack probative value. See ECF Nos. 90 at 7; 91 at 26-27. While Plaintiff references FRE 401, 402,


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and 403 (ECF Nos. 90 at 7; 91 at 26-27), he does not articulate any facts or cite any law supporting

his evidentiary challenges. On this basis alone, Plaintiff’s objections must be rejected. See Mt.

Hawley Ins. Co. v. Adell Plastics, Inc., 348 F. Supp. 3d 458, 464 (D. Md. 2018) (denying motion

to strike exhibits to motion for summary judgment because “[a]lthough Mt. Hawley references

rules of evidence, the motion takes a kitchen-sink approach to framing its objections in only the

most general terms”); Ross v. Ricciuti, Civ. No. WDQ-11-181, 2015 WL 3932420, at *9 (D. Md.

June 24, 2015) (denying motion to strike one affidavit as inadmissible hearsay and consequently

denying motion to strike all other affidavits because litigant “only made a general objection to the

affidavits as hearsay”). Brian Moffet is either incompetent or culpable in aiding and abetting a

criminal enterprise. The next filing by M&T should be filed by Laura O’Hara or Elizabeth

Bailey, as they continue to hide behind Moffet, and I do not even think he knows half of the

things which he files. He is not actually a real lawyer, simply a puppet for corporations to use to

file documents without having to take any responsibility for anything they file on the docket.

This completely frustrates any semblance of accountability and should no longer be tolerated.

       Nevertheless, inasmuch as M&T has the burden to establish that it is entitled to summary

judgment, Plaintiff’s monthly account statements are not only relevant and material, since they

reflect the precise information that Plaintiff is disputing with the CRAs, but are also admissible

business records under FRE 803(6). See ECF No. 89, Affidavit of Kathleen Evans, ¶ 3.

Accordingly, like the rest of the exhibits attached to M&T’s Cross-Motion, Plaintiff’s monthly

account statements are properly before this Court and are admissible for purposes of summary

judgment. Plaintiff’s unsupported claims to the contrary are without merit and should be rejected.

E. Plaintiff Has Not Asserted A Claim Against M&T For Fraudulent Misrepresentation
   And Cannot Amend His Already-Amended Complaint Through Briefing On Summary
   Judgment.

       Despite the Amended Complaint asserting only two claims against M&T—one for


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violating the FCRA and the other for violating TILA—the first five pages of Plaintiff’s first

“opposition/reply” accuse M&T of making fraudulent misrepresentations concerning the terms of

his credit card (ECF No. 90 at 1-5), and Plaintiff’s second “opposition/reply” appears to seek

declaratory and injunctive relief based on a claim of fraud (ECF No. 91 at 1, 6). Notwithstanding




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the fact that Plaintiff’s accusations are belied by the clear and express terms of his Credit

Agreement (Ex. 3 to M&T’s Cross-Motion), Plaintiff cannot “amend [his] complaint through

argument in a brief opposing summary judgment.” Sensormatic Sec. Corp. v. Sensormatic Elecs.

Corp., 455 F. Supp. 2d 399, 436 (D. Md. 2006) (quoting Shanahan v. City of Chicago, 82 F.3d

776, 781 (7th Cir.1996)); see also Zachair Ltd. v. Driggs, 965 F. Supp. 741, 748 n. 4 (D. Md. 1997)

(stating that a plaintiff “is bound by the allegations contained in its complaint and cannot, through

the use of motion briefs, amend the complaint”), aff’d, 141 F.3d 1162 (4th Cir. 1998); see also

Barclay White Shanska, Inc. v. Batelle Mem’l Inst., 262 F. App’x 556, 563 (4th Cir. 2008) (holding

that a plaintiff cannot amend his complaint through the filing of an opposition to summary

judgment). Accordingly, to the extent Plaintiff is now trying to assert a claim for fraudulent

misrepresentation or seek declaratory and injunctive relief based on a claim of fraud, those claims

are not properly before this Court and his arguments supporting the claims should be rejected. See

Yin Wen Chen v. Royal Garden Adult Med. Daycare Ctr., Inc., No. CV SAG-17-2087, 2018 WL

6394157, at *7 (D. Md. Dec. 6, 2018) (applying Sensormatic to reject plaintiff’s attempt to add

new employment claims in his briefing opposing summary judgment after he failed to raise the

allegations in either his initial complaint or amended complaint); Jones v. Chapman, No. CV ELH-

14-2627, 2017 WL 2472220, at *36 (D. Md. June 7, 2017) (refusing to consider bystander liability

claim when asserted for first time in opposition to summary judgment); Smith v. Integral

Consulting Servs., Inc., No. CV DKC 14-3094, 2016 WL 4492708, at *14 (D. Md. Aug. 26, 2016)

(rejecting claim for promissory estoppel raised in opposition to motion for summary judgment

where amended claim asserted only breach of contract claim).




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                                    III.    CONCLUSION

       For the foregoing reasons, and those set forth in M&T’s Opening Memorandum, this Court

should grant summary judgment in favor of M&T on all claims asserted in the Amended Complaint

and deny Plaintiff’s Motion for Summary Judgment.

                                                Respectfully submitted,


                                                /s/ Brian L. Moffet
                                                Brian L. Moffet (Fed. Bar No. 13821)
                                                MILES & STOCKBRIDGE P.C.
                                                100 Light Street
                                                Baltimore, Maryland 21202
                                                Tel: (410) 727-6464
                                                bmoffet@milesstockbridge.com

                                                Joshua R. Chazen (Fed. Bar No. 06837)
                                                MILES & STOCKBRIDGE P.C.
                                                1201 Pennsylvania Avenue, NW
                                                Suite 900
                                                Washington, DC 20004
                                                Tel: (202) 465-8388
                                                jchazen@milesstockbridge.com

                                                Attorneys for Defendant M&T Bank



                                CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2021, a copy of the foregoing was served on the

following via ECF and via first class mail, postage prepaid:

                                             Bryce Carrasco
                                             334 Ternwing Drive
                                             Arnold, MD 21012


                                             /s/ Brian L. Moffet
                                             Brian L. Moffet (Fed Bar No. 13821)




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